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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOM#,

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

WILLIAM DONOVAN
JOHNSON Ii,

a/k/a “Billy Johnson,”

DAVID SCOTT CHAMBERS,
a/k/a “Scott Chambers,’’

GENE OLEN CHARLES RAST,
a/k/a “Charlie Rast,”

SHAUNI BREANNE CALLAGY,
RENEE LYNN HAYNES,

LUIS ALFREDO JACOBO,
a/k/a “Lokz,”

JESUS VALDEZ MARTINEZ,
a/k/a “Jesse Martinez,’

a/k/a “Hostile,”

KELLY WAYNE BRYAN,
CURTIS ANTHONY JONES,
ANTONIO CERVANTES GARCIA
a/k/a “Tony Garcia,”

Defendants.

 

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Case No. 21-CR-102-CVE

THIRD SUPERSEDING
INDICTMENT

[COUNT ONE: 21 U.S.C. §§
848(a), 848(b), 848(c), and 848(d) —
Continuing Criminal Enterprise;
COUNTS TWO through FIVE: 21
U.S.C. §§ 846 and
841(b)(1)(A)(viii) — Drug
Conspiracy;

COUNTS SIX and SEVEN: 21
U.S.C. §§ 856(a)(1) and 856(b) —
Maintaining a Drug-Involved
Premises;

COUNTS EIGHT and
THIRTEEN: 18 U.S.C. §
1952(a)(3) — Interstate Travel to
Aid Racketeering;

COUNT NINE: 21 U.S.C. §§
841(a)(1) and 841(b)(1)(B)(viii) —
Possession of Methamphetamine
with Intent to Distribute;
COUNT TEN: 18 U.S.C. §
924(c)(1)(A)(@) — Possession of
Firearm in Furtherance of a Drug
Trafficking Crime;

COUNT ELEVEN: 21 U.S.C. §§
841(a)(1) and 841(b)(1)(A)(viii) -
Possession of Methamphetamine
with Intent to Distribute;
COUNT TWELVE: 21 U.S.C. §§
841(a)(1) and 841(b)(1)(C) -
Possession of Methamphetamine
with Intent to Distribute;
COUNTS FOURTEEN through
THIRTY-NINE: 21 U.S.C. §§
843(b) and 841(d)(1) — Unlawful
Use of a Communication Facility;

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Forfeiture Allegation: 21 U.S.C. §
853, 18 U.S.C. § 981(a)(1)(C), and
28 U.S.C. § 2461 — Drug and
Racketeering Forfeiture]

THE GRAND JURY CHARGES:

COUNT ONE
[21 U.S.C. §§ 848(a), 848(b), 848(c), and 848(d)]

Beginning in or about May 2016 and continuing to in or about September 2021,
in the Northern District of Oklahoma and elsewhere, the defendant, LUIS
ALFREDO JACOBO, a/k/a “Lokz,” knowingly and intentionally engaged in a
continuing criminal enterprise (‘““CCE”) in that he knowingly and intentionally
violated Title 21, United States Code, Sections 841(a)(1), 846, and 856(a)(1), which
violations included, but were not limited to, those substantive violations alleged in

the following Counts in this Third Superseding Indictment:

 

 

 

 

 

 

 

 

 

 

Counts Description of Violations
2 through 5 Drug Conspiracy, in violation of 21 U.S.C. §§ 846 and
841(b)(1)(A)(vi)
9 Possession of Methamphetamine With Intent to Distribute,
in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vi)
11 Possession of Methamphetamine With Intent to Distribute,
in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(vi)
12 Possession of Methamphetamine With Intent to Distribute,
in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)
6 and 7 Maintaining a Drug-Involved Premises, in violation of 21
U.S.C. § 856(a)(1)
14 through 39 Unlawful Use of a Communication Facility, in violation of
21 U.S.C. §§ 843(b) and 843(d)(1)

 

The above-listed violations are realleged and incorporated herein as though fully

set forth in this Count, and which violations were part of a continuing series of

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violations of the Controlled Substances Act, Title 21, United States Code, Section
801, et seq., undertaken by JACOBO in concert with at least five other persons with
respect to whom JACOBO occupied positions of organizer, supervisor, and any
other position of management, and from which such continuing series of violations
JACOBO obtained substantial income and resources.

Furthermore, JACOBO was a principal administrator, organizer, supervisor, and
leader of the CCE, which involved possession with intent to distribute and
distribution of methamphetamine, a Schedule II controlled substance, and the
amount of said methamphetamine was 300 times the quantity of the substance
described in Title 21, United States Code, Section 841(b)(1)(B).

All in violation of Title 21, United States Code, Sections 348(a), 848(b), 848(c),

and 848(d).
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COUNT TWO
[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

Beginning as early as in or about May 2016 and continuing until in or about
December 2018, in the Northern District of Oktahoma and elsewhere, the defendant,
LUIS ALFREDO JACOBO, a/k/a “Lokz,” did knowingly, intentionally, and
willfully conspire, confederate, and agree with S.G., a person known to the Grand
Jury, and with others known and unknown to the Grand Jury, collectively referred to
as the 8S.G. DRUG TRAFFICKING ORGANIZATION (“the S.G. DTO”) to
commit offenses against the United States, as follows:

OBJECTS OF THE S.G. CONSPIRACY

The objects of the $.G. CONSPIRACY were:

1. To possess with intent to distribute 500 grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code Section
841(a)(1).

2. To distribute 500 grams or more of a mixture and substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance,
in violation of Title 21, United States Code Section 841(a)(1).

PURPOSE OF THE S.G. CONSPIRACY

The purpose of the S.G. CONSPIRACY was to enrich the $.G. DTO illegally

through the illicit sale of methamphetamine to addicts and drug users who had no

lawful means of acquiring the controlled substance.

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MEANS AND METHODS OF THE S.G. CONSPIRACY

The objects of the S.G. CONSPIRACY were accomplished by the following
means and methods, among others:

3. JACOBO would and did obtain methamphetamine from JACOBO’s sources
of supply and would and did distribute it to subdistributors like S.G. for resale to
addicts and users, so that the S.G. DTO would profit from the sales.

4. The §.G. DTO would and did use JACOBO’s hometown of Bakersfield,
California, as a base of operations.

5. Between in or about May 2016 and in or about May 2018, S.G. lived in
Bakersfield and received methamphetamine from JACOBO, and from others whom
JACOBO directed, in and around Bakersfield.

6. Between in or about May 2018 and in or about December 2018, S.G. lived in
and around Grove, Oklahoma, which is in the Northern District of Oklahoma, and
received methamphetamine from JACOBO, and from others whom JACOBO
directed, via mail parcel.

7. At all times, JACOBO directed and organized the activities of the S.G. DTO
from Bakersfield, California, including setting the prices $.G. would pay JACOBO,
determining where S$.G. would go to obtain methamphetamine, delegating
responsibilities to others in Bakersfield involving the delivery of methamphetamine
to S.G., and approving any suggestions S.G. would make about how the §8.G. DTO

would operate.
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8. While S.G. was living in Bakersfield, JACOBO would and did not allow S.G.
to receive methamphetamine directly from JACOBO but rather would and did direct
5.G. to obtain the methamphetamine from others working at his direction. JACOBO
would and did refer to the others who would distribute methamphetamine directly to
S.G. as “runners.”

9, While S.G. was living in Bakersfield, JACOBO would and did commonly
direct S.G. to pick up ounces of methamphetamine from a runner JACOBO called
“Junior.”

10. While S.G. was living in Bakersfield, JACOBO would and did commonly
direct S.G. to go to various houses in Bakersfield to obtain methamphetamine from
runners.

11.8.G. would and did obtain quantities of methamphetamine from JACOBO
“on front,” or without paying upfront for the methamphetamine.

12.S.G. would and did pay JACOBO for the methamphetamine after S.G. had
sold it to others for profit.

13. While S.G. was living in Bakersfield, JACOBO would and did provide S.G.
and cause S.G. to be provided approximately one ounce of methamphetamine per
day for S.G. to redistribute.

14. While S.G. was living in Bakersfield, S.G. would and did introduce additional
redistributors to JACOBO and suggest that JACOBO employ those redistributors to

sell methamphetamine.
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15.One of the additional redistributors to whom S.G. introduced JACOBO was
an individual known to the Grand Jury as “A.P.”

16. While S.G. was living in Grove, FACOBO would and did cause S.G. to be
provided with approximately two pounds of methamphetamine each week.

17.JACOBO would and did charge S.G. approximately $3,000 per pound of
methamphetamine.

18. While S.G. was living in Grove, S.G. would and did cause JACOBO to be
paid for methamphetamine through various methods, as directed by JACOBO.

19. The ways in which S.G. would and did cause JACOBO to be paid included
sending bundles of cash from the Northern District of Oklahoma and elsewhere to
Bakersfield and elsewhere by mail parcel; transferring cash from the Northern
District of Oklahoma and elsewhere to Bakersfield and elsewhere using money
remitters like Western Union and MoneyGram; and transferring money
electronically using smartphone applications like “Bluebird” by American Express.

20.JACOBO would and did use a “Bluebird” account that was linked to his
email address, “luisjacobo2014@gmail.com.”

21. While S.G. was living in Grove, JACOBO would and did direct S.G. to send
payments for methamphetamine to a variety of names and addresses that JACOBO
chose.

22.The people to whom JACOBO would and did direct S.G. to send payments

for methamphetamine included individuals in Mexico.
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23.The §.G. DTO would and did use cellular telephones to communicate about
the activities of the DTO, including by using voice calls, text messages, and messages
using the electronic messaging feature of “WhatsApp,” a smartphone application.

24.8.G. would and did take photos of cash and photos of receipts from money
remitters and from the U.S. Postal Service and send these photos to JACOBO to
show proof of payment.

25.JACOBO would and did change phones and phone numbers frequently, in an
attempt to avoid detection by law enforcement.

26. While S.G. was living in Grove, JACOBO would and did request that S.G.
regularly provide JACOBO new names and addresses to accept shipment of mail
parcels containing methamphetamine, in an attempt to avoid detection by law
enforcement.

27. While S.G. was living in Grove, S.G. would and did, with JACOBO’s
knowledge and approval, coordinate methamphetamine shipments and sales with
William Donovan Johnson III, a/k/a “Billy Johnson,” an individual who also
conspired with JACOBO to distribute and to possess with intent to distribute
methamphetamine, as set forth more fully in Count Four of this Third Superseding
Indictment.

28. While S.G. was living in Grove, S.G. used a variety of subdistributors,

including people known to the Grand Jury as “G.G.,” “C.G.,” “M.J.” and “J.T.,” to
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help redistribute the methamphetamine from JACOBO to users and addicts in
Northeast Oklahoma and Southwest Missouri.
OVERT ACTS

29.On or about September 19, 2018, JACOBO communicated with S.G. by text
message, telling S.G. to send JACOBO money that William Donovan Johnson III,
a/k/a “Billy Johnson,” had given to S.G.

30.On or about September 20, 2018, JACOBO communicated with S.G. by text
message, telling S.G. to talk to G.G. and C.G. so the §.G. DTO could sell more
methamphetamine, and also telling S.G. to coordinate with S.G.’s neighbor about
receiving packages of methamphetamine.

31.On or about September 20, 2018, JACOBO communicated with S.G. by text
message, admonishing S.G. to be discreet when discussing JACOBO’s plan to
transport bulk quantities of methamphetamine in vehicles to the Northern District of
Oklahoma and Southwest Missouri.

32.On or about September 20, 2018, JACOBO communicated with S.G. by text
message, telling S.G. that if unnamed potential methamphetamine redistributors
wanted to do business with JACOBO, they would have to do so through S.G.

33.On or about September 20, 2018, JACOBO communicated with S.G. by text
message, telling S.G. to communicate with a potential coconspirator about receiving

three boxes of methamphetamine from JACOBO per week at S.G.’s price.
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34.On or about September 20, 2018, JACOBO communicated with S.G. by text
message, telling $.G. to send JACOBO money via a money remittur service located
at Walmart.

35.On or about September 20, 2018, JACOBO communicated with S.G. by text
message, telling S.G. to give William Donovan Johnson III, a/k/a “Billy Johnson,”
a quantity of methamphetamine.

36.On or about September 21, 2018, JACOBO communicated with S.G. by text
message, responding to $.G.’s complaint about M.J. by suggesting that S.G. and
M.J. should focus on the methamphetamine business.

37.On or about September 22, 2018, JACOBO communicated with S.G. by text
message, demanding payment from S.G. and threatening to refer the matter to
JACOBO’s associates.

38.On or about September 25, 2018, JACOBO communicated with S.G. by text
message, offering to help locate M.J. for S.G. and telling S.G. to send JACOBO
money.

AJJ in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viii).

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COUNT THREE
[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

Beginning as early as in or about September 2018 and continuing until in or about
August 2019, in the Northern District of Oklahoma and elsewhere, the defendant,
LUIS ALFREDO JACOBO, a/k/a “Lokz,” did knowingly, intentionally, and
willfully conspire, confederate, and agree with “M.J.,” a person known to the Grand
Jury, and others known and unknown to the Grand Jury, collectively referred to as
the M.J. DRUG TRAFFICKING ORGANIZATION (“M.J. DTO”), to commit
offenses against the United States, as follows:

OBJECTS OF THE M.J. CONSPIRACY

The objects of the M.J. CONSPIRACY were:

1. To possess with intent to distribute 500 grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code Section
841 (a)(1).

2. To distribute 500 grams or more of a mixture and substance containing a
detectable amount of methamphetamine, a Schedule JI controlled substance,
in violation of Title 21, United States Code Section 841(a)(1).

PURPOSE OF THE M.J. CONSPIRACY

The purpose of the M.J. CONSPIRACY was to enrich the M.J. DTO illegally

through the illicit sale of methamphetamine to addicts and drug users who had no

lawful means of acquiring the controlled substance.

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MEANS AND METHODS OF THE M.J. CONSPIRACY

The objects of the M.J. CONSPIRACY were accomplished by the following
means and methods, among others:

3. JACOBO would and did obtain methamphetamine from JACOBO’s sources
of supply and would and did distribute it to subdistributors like M.J. for resale to
addicts and users, so that the M.J. DTO would profit from the sales.

4. The M.J. DTO would and did use FACOBO’s hometown of Bakersfield,
California, as a base of operations.

5. During the course of the M.J. CONSPIRACY, M.J. lived in and around
Grove, Oklahoma, which is in the Northern District of Oklahoma, and received
methamphetamine from JACOBO, and from others whom JACOBO directed, via
mail parcel.

6. At all times, JACOBO directed and organized the activities of the M.J. DTO
from Bakersfield, California, including setting the prices M.J. would pay JACOBO,
determining the method of delivery of methamphetamine to M.J., determining the
method of payment to JACOBO, and approving any suggestions M.J. would make
about how the M.J. DTO would operate.

7. During the first month of the M.J. CONSPIRACY, JACOBO would and did
cause M.J. to be provided with approximately one or two pounds of

methamphetamine every ten to fourteen days.

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8. During each subsequent month of the M.J. CONSPIRACY, JACOBO
would and did cause M.J. to be provided with approximately five pounds of
methamphetamine every ten to fourteen days.

9. JACOBO would and did charge M.J. approximately $3,000 per pound of
methamphetamine.

10.M.J. would and did cause JACOBO to be paid for methamphetamine through
various methods, as directed by JACOBO.

11.The ways in which M.J. would and did cause JACOBO to be paid included
sending bundles of cash from the Northern District of Oklahoma and elsewhere to
Bakersfield and elsewhere by mail parcel; transferring cash from the Northern
District of Oklahoma and elsewhere to Bakersfield and elsewhere using money
remitters like Western Union and MoneyGram; and transferring money
electronically using smartphone applications like “Bluebird” by American Express.

12.JACOBO would and did use a “Bluebird” account that was linked to his
email address “luisjacobo2014@gmail.com.”

13.JACOBO would and did direct M.J. to send payments for methamphetamine
to a variety of names and addresses that JACOBO chose.

14.The people to whom JACOBO would and did direct M.J. to send payments

for methamphetamine included individuals in Mexico.

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15.The M.J. DTO would and did use cellular telephones to communicate about
the activities of the DTO, including by using voice calls, text messages, and messages
using the electronic messaging feature of “WhatsApp,” a smartphone application.

16.M.J. would and did take photos of cash and photos of receipts from money
remitters and from the U.S. Postal Service and send these photos to JACOBO to
show proof of payment.

17.JACOBO would and did change phones and phone numbers frequently, in an
attempt to avoid detection by law enforcement.

18. JACOBO would and did request that M.J. regularly provide JACOBO new
names and addresses to accept shipment of mail parcels containing
methamphetamine, in an attempt to avoid detection by law enforcement.

19.M.J. used a variety of subdistributors, including people known to the Grand
Jury as “J.T.,” “K.H.,” “K.S.,” and “C.H.,” to help redistribute the
methamphetamine from JACOBO to users and addicts in Northeast Oklahoma and
Southwest Missouri.

OVERT ACTS

20.On or about March 13, 2019, JACOBO communicated with M.J. through
WhatsApp, instructing M.J. to send JACOBO $500 through Bluebird.

21.On or about March 17, 2019, JACOBO communicated with M.J. through
WhatsApp, providing M.J. with an address in Bakersfield for M.J. to send money to

JACOBO.

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22.On or about March 17, 2019, JACOBO communicated with M.J. through
WhatsApp, reminding M.J. to send JACOBO money.

23.On or about March 20, 2019, after learning that S.G. had recently been
released from law enforcement custody, JACOBO communicated with M.J. through
WhatsApp, asking M.J. to discreetly get S.G.’s phone number for JACOBO.

24.On or about March 20, 2019, after learning that M.J. had a new customer
wanting two pounds of methamphetamine, JACOBO communicated with M.J.
through WhatsApp, telling M.J. that he would send methamphetamine soon.

25.On or about March 21, 2019, JACOBO communicated with M.J. through
WhatsApp, acknowledging that M.J. had sent JACOBO $15,000 through multiple
payment methods.

26.On or about March 21, 2019, JACOBO communicated with M.J. through
WhatsApp, acknowledging that M.J. had a buyer for three pounds of
methamphetamine and telling M.J. that he would send more methamphetamine.

All in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viii).

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COUNT FOUR
[21 U.S.C. §§ 846 and 841(b)(1)(A)(Viii)]

Beginning as early as in or about September 2018 and continuing until in or about
March 2021, in the Northern District of Oklahoma and elsewhere, the defendant,
LUIS ALFREDO JACOBO, a/k/a “Lokz,” did knowingly, intentionally, and
willfully conspire, confederate, and agree with WILLIAM DONOVAN JOHNSON
I, a/k/a “Billy Johnson,” SHAUNI BREANNE CALLAGY, KELLY WAYNE
BRYAN, CURTIS ANTHONY JONES, JESUS VALDEZ MARTINEZ, a/k/a
“Jesse Martinez,” a/k/a “Hostile,” ANTONIO CERVANTES GARCIA, a/k/a
“Tony Garcia,” and others known and unknown to the Grand Jury, collectively
referred to as the JACOBO JOHNSON DRUG TRAFFICKING
ORGANIZATION (“JACOBO JOHNSON DTO”), to commit offenses against
the United States, as follows:

OBJECTS OF THE JACOBO JOHNSON CONSPIRACY

The objects of the JACOBO JOHNSON CONSPIRACY were:

1. To possess with intent to distribute 500 grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code Section
841(a)(1).

2. To distribute 500 grams or more of a mixture and substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance,
in violation of Title 21, United States Code Section 841(a)(1).

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PURPOSE OF THE JACOBO JOHNSON CONSPIRACY

The purpose of the JACOBO JOHNSON CONSPIRACY was to enrich the
JACOBO JOHNSON DTO illegally through the illicit sale of methamphetamine to
addicts and drug users who had no lawful means of acquiring the controlled
substance.

MEANS AND METHODS OF THE JACOBO JOHNSON CONSPIRACY

The objects of the JACOBO JOHNSON CONSPIRACY were accomplished by
the following means and methods, among others:

3. JACOBO would and did obtain methamphetamine from JACOBO’s sources
of supply and would and did distribute it to subdistributors like JOHNSON and the
other members of the JACOBO JOHNSON DTO for resale to addicts and users so
that the JACOBO JOHNSON DTO would profit from the sales.

4. The JACOBO JOHNSON DTO would and did use JACOBO’s hometown
of Bakersfield, California, as a base of operations.

5. During the course of the JACOBO JOHNSON CONSPIRACY, JACOBO,
GARCIA, and others unknown to the grand jury lived in Bakersfield, California,
and are collectively referred to as the “CALIFORNIA GROUP.”

6. During the course of the JACOBO JOHNSON CONSPIRACY, JOHNSON,
CALLAGY, BRYAN, JONES, MARTINEZ, and others known and unknown to
the Grand Jury lived in and around Grove, Oklahoma, which is in the Northern

District of Oklahoma; Miami, Oklahoma, which is in the Northern District of

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Oklahoma; Marshfield, Missouri; and other locations in the Northern District of
Oklahoma and in Southwest Missouri, and are collectively referred to as the
“OKLAHOMA GROUP.”

7. JACOBO would and did direct the CALIFORNIA GROUP to send
methamphetamine to the OKLAHOMA GROUP “on front,” or without the
OKLAHOMA GROUP’s paying upfront for the methamphetamine.

8. The JACOBO JOHNSON DTO would and did use multiple methods to get
methamphetamine from the CALIFORNIA GROUP to the OKLAHOMA
GROUP, always at JACOBO’s discretion.

9. The JACOBO JOHNSON DTO would and did use multiple methods to get
payment for the methamphetamine from the OKLAHOMA GROUP to the
CALIFORNIA GROUP, always at JACOBO’s discretion.

10.One method the CALIFORNIA GROUP would and did use to send
methamphetamine to the OKLAHOMA GROUP was through mail parcel.

11.One method the CALIFORNIA GROUP would and did use to send
methamphetamine to the OKLAHOMA GROUP was by sending members of the
CALIFORNIA GROUP to the Northern District of Oklahoma and Southwest
Missouri, with methamphetamine concealed in vehicles, to meet members of the
OKLAHOMA GROUP.

12.One method the CALIFORNIA GROUP would and did use to send

methamphetamine to the OKLAHOMA GROUP was by directing members of the

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OKLAHOMA GROUP to drive vehicles to Bakersfield, Las Vegas, and other areas
and drive vehicles back to the Northern District of Oklahoma and Southwest
Missouri with methamphetamine concealed inside.

13.One method the OKLAHOMA GROUP would and did use to pay JACOBO
for methamphetamine was by sending quantities of cash to the CALIFORNIA
GROUP via mail parcel.

14.One method the OKLAHOMA GROUP would and did use to pay JACOBO
for methamphetamine was by sending members of the OKLAHOMA GROUP to
California and other locations in vehicles with cash concealed inside to meet
members of the CALIFORNIA GROUP.

15.The OKLAHOMA GROUP would and did send people including
MARTINEZ and others known to the Grand Jury as “G.R.,” “R.H.,” and “J.D.” to
California and other places to distribute cash to the CALIFORNIA GROUP and to
pick up methamphetamine to be brought back to members of the OKLAHOMA
GROUP.

16.The CALIFORNIA GROUP would and did send people including GARCIA
to Oklahoma and other places to distribute methamphetamine to the OKLAHOMA
GROUP.

17. All details regarding travel by members of the JACOBO JOHNSON DTO

were arranged with the knowledge of and approval by JACOBO.

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18. The CALIFORNIA GROUP would and did use methods including cellular
telephone calls and text messages to communicate with the OKLAHOMA GROUP.

19. The JACOBO JOHNSON DTO members would and did use storage units in
the Northern District of Oklahoma and Southwest Missouri to store bulk quantities
of methamphetamine, cash, or both methamphetamine and cash.

20. The JACOBO JOHNSON DTO would and did cause to be distributed.
quantities of methamphetamine of up to 100 pounds at a time.

21.The JACOBO JOHNSON DTO would and did cause to be transported
quantities of cash of up to $400,000 at a time.

OVERT ACTS

22.On or about September 17, 2020, GARCIA drove from Bakersfield to Grove,
Oklahoma, to deliver methamphetamine to a member of the OKLAHOMA
GROUP, while coordinating by text message with JACOBO and others.

23.On or about September 22, 2020, JACOBO communicated with GARCIA by
text message, confirming amounts of money that methamphetamine customers had
paid and directing GARCIA to distribute pound quantities of methamphetamine to
those customers.

24.On or about October 11, 2020, JACOBO communicated with GARCIA by
text message, telling GARCIA to get ready to drive a quantity of methamphetamine

to the OKLAHOMA GROUP.

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25.On or about October 12, 2020, law enforcement found over 200 pounds of
methamphetamine and nearly $500,000 cash in a storage unit used by the
OKLAHOMA GROUP; and JOHNSON, CALLAGY, R.H., and G.R. were
arrested.

26.On or about October 13, 2020, GARCIA told a coconspirator that they would
not be driving to deliver methamphetamine to the OKLAHOMA GROUP that day
because a key member of the OKLAHOMA GROUP had been arrested.

27.On or about February 10, 2021, JACOBO communicated with R.H. through
WhatsApp, telling R.H. to obtain G.R.’s phone number and to locate BRYAN so
JACOBO could get money that BRYAN owed JACOBO.

28.On or about February 25, 2021, JACOBO communicated with R.H. through
WhatsApp, asking when R.H. would be coming to Bakersfield to discuss the
methamphetamine business with JACOBO.

29.On or about February 28, 2021, JACOBO communicated with R.H. through
WhatsApp to coordinate R.H.’s arrival in Bakersfield to pick up a quantity of
methamphetamine from JACOBO.

30.On or about March 6, 2021, JACOBO communicated with R.H. through
WhatsApp, confirming that R.H. had arrived home and had found the six pounds of

methamphetamine JACOBO had loaded into R.H.’s car in Bakersfield.

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31.On or about March 9, 2021, JACOBO communicated with R.H. through
WhatsApp, asking when R.H. would be ready to come back to Bakersfield to pick up
more methamphetamine.

32.From on or about March 16, 2021, to on or about March 17, 2021, R.H.
stayed at the WoodsSpring Suites in Bakersfield after driving to Bakersfield to pick
up more methamphetamine from JACOBO.

33.On or about March 19, 2021, JACOBO communicated with R.H. through
WhatsApp, asking that R.H. tell JACOBO when R.H. arrived home with the
methamphetamine.

All in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viii).

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COUNT FIVE
[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

Beginning as early as in or about September 2020 and continuing until on or
about October 10, 2020, in the Northern District of Oklahoma and elsewhere, the
defendants, WILLIAM DONOVAN JOHNSON II], a/k/a “Billy Johnson,”
DAVID SCOTT CHAMBERS, a/k/a “Scott Chambers,” and SHAUNI
BREANNE CALLAGY, did knowingly, intentionally, and willfully conspire,
confederate, and agree with each other and with others known and unknown to the
Grand Jury to distribute and to possess with intent to distribute 500 grams or more of
a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code Section
841(a)(1).

All in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viii).

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COUNT SIX
[21 U.S.C. §§ 856(a)(1) and 856(b)]

Beginning as early as in or about September 2020 and continuing until on or
about October 10, 2020, in the Northern District of Oklahoma, the defendants,
WILLIAM DONOVAN JOHNSON III, a/k/a “Billy Johnson,” and SHAUNI
BREANNE CALLAGY, did knowingly lease, rent, use, and maintain a place
located at GPS Satellite Coordinates 36.638779, -94.681428, in Grove, Oklahoma,
for the purpose of distributing and using methamphetamine, a Schedule II controlled

substance.

All in violation of Title 21, United States Code, Sections 856(a)(1) an 856(b).

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COUNT SEVEN
[21 U.S.C. 8§ 856(a)(1) and 856(b)]

Beginning as early as in or about September 2020 and continuing until on or
about October 10, 2020, in the Northern District of Oklahoma, the defendants,
WILLIAM DONOVAN JOHNSON MI, a/k/a “Billy Johnson,” and SHAUNI
BREANNE CALLAGY, did knowingly lease, rent, use, and maintain a place
located at 26371 South 650 Road, Grove, Oklahoma, for the purpose of distributing
and using methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 856(a)(1) an 856(b).

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COUNT EIGHT
[18 U.S.C. § 1952(a)(3)]

On or about October 10, 2020, in the Northern District of Oklahoma and
elsewhere, the defendant, DAVID SCOTT CHAMBERS, a/k/a “Scott Chambers,”
traveled in interstate commerce from the State of Missouri to the State of Oklahoma
with the intent to promote, manage, establish, carry on, and facilitate the promotion,
management, establishment, and carrying on of an unlawful activity, that is,
Possession of Methamphetamine with Intent to Distribute, in violation of Title 21,
United States Code, Section 841(a)(1), and thereafter performed and attempted to
perform an act to promote, manage, establish, and carry on, and to facilitate the
promotion, management, establishment, and carrying of such unlawful activity.

All in violation of Title 18, United States Code, Section 1952(a)(3).

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COUNT NINE
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii)]

On or about October 12, 2020, in the Northern District of Oklahoma, the
defendant, GENE OLEN CHARLES RAST, knowingly and intentionally possessed
with the intent to distribute 50 grams or more of a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B)(viii).

27
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COUNT TEN
[18 U.S.C. § 924(c)(1)(AV(@]

On or about October 12, 2020, in the Northern District of Oklahoma, the
defendant, GENE OLEN CHARLES RAST, knowingly possessed a firearm in
furtherance of a drug trafficking crime for which he may be prosecuted in a court of
the United States, that is, Possession of Methamphetamine with Intent to Distribute,
a violation of Title 21, United States Code, Section 841(a)(1), as set forth more fully
in Count Nine of this Indictment.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)@).

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COUNT ELEVEN
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii)]

On or about May 31, 2019, in the Northern District of Oklahoma, the defendant,
WILLIAM DONOVAN JOHNSON II, knowingly and intentionally possessed
with the intent to distribute 50 grams or more of methamphetamine, a Schedule II
controlled substance, its salts, isomers, and salts of its isomers.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A) (vii).

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COUNT TWELVE
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)]

On or about March 21, 2021, in the Northern District of Oklahoma, the
defendant, RENEE LYNN HAYNES, knowingly and intentionally possessed with
the intent to distribute methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).

30
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COUNT THIRTEEN
[18 U.S.C. § 1952(a)(3)]

Beginning on or about March 18, 2021, and continuing to on or about March 21,
2021, in the Northern District of Oklahoma and elsewhere, the defendant, RENEE
LYNN HAYNES, traveled in interstate commerce from the State of California to the
State of Oklahoma with the intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of an unlawful
activity, that is, Possession of Methamphetamine with Intent to Distribute, in
violation of Title 21, United States Code, Section 841(a)(1), and thereafter performed
and attempted to perform an act to promote, manage, establish, and carry on, and to
facilitate the promotion, management, establishment, and carrying of such unlawful
activity.

All in violation of Title 18, United States Code, Section 1952(a)(3).

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COUNTS FOURTEEN THROUGH THIRTY-NINE
[21 U.S.C. §§ 843(b) and 843(d)(1)]

On or about the dates and times listed below, in the Northern District of
Oklahoma and elsewhere, the defendant, LUIS ALFREDO JACOBO, a/k/a
“Lokz,” did knowingly and intentionally use a communication facility, specifically a
telephone, in committing, causing, and facilitating the commission of acts
constituting felonies under Title 21, United States Code, Sections 848(a), 848(b),
848(c), 848(d), 846 and 841(b)(1)(A)(viii); that is, Continuing Criminal Enterprise, as
described in Count One of this Third Superseding Indictment; and Drug Conspiracy,
as described in Counts Two through Four of this Third Superseding Indictment, as

set forth in the chart below:

 

‘Count|Date = |Time ~ | Telephone | Description of Communication
od (Central) | Number Used ce
14 9/19/2018 | 8:56p.m. | 661-330-2936 |JACOBO tells S.G. to send
JACOBO money that William
Donovan Johnson II had given to
S.G.

15 9/20/2018 | 12:23 p.m. | 661-330-2936 | JACOBO tells S.G. to talk to
G.G. and C.G. so the DTO could
sell more methamphetamine, and
also tells $.G. to coordinate with
S.G.’s neighbor about receiving
packages of methamphetamine.
16 9/20/2018 | 12:27 p.m. | 661-330-2936 | JACOBO admonishes S.G. to be
discreet when discussing the plan
to transport bulk quantities of
methamphetamine in vehicles.

17 9/20/2018 | 12:31 p.m. | 661-330-2936 |JACOBO tells S.G. that if
potential coconspirators want to
do business with JACOBO, they
will have to go through S.G.

 

 

 

 

 

 

 

 

 

 

 

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Count

Date | Time
| (Centiral)

| Telephone... _
‘Number Used _|

‘Description of Communicati

 

 

18

"9/20/2018

12:54 p.m.

661-330-2936

JACOBO tells S.G. to talk with a
potential coconspirator about
receiving three boxes per week of
methamphetamine.

 

19

9/20/2018

2:20 p.m.

661-330-2936

JACOBO tells S.G. to send him
money via a money remittur
service.

 

20

9/20/2018

4:49 p.m.

661-330-2936

JACOBO tells S.G. to give
William Donovan Johnson III a
quantity of methamphetamine.

 

21

9/21/2018

10:53 p.m.

661-330-2936

JACOBO responds to S.G.’s
complaint about MJ. by
suggesting that S.G. and MJ.
should focus on __ selling
methamphetamine.

 

22

9/22/2018

10:44 a.m.

661-330-2936

JACOBO demands payment
from S.G. and threatens to refer
the matter to JACOBO’s
associates.

 

23

9/25/2018

12:03 p.m.

661-330-2936

JACOBO offers to help S.G.
locate M.J. and tells $.G. to send
JACOBO money.

 

24

3/13/2019

6:39 p.m.

661-431-3254

JACOBO tells M.J. to send him
$500 through Bluebird.

 

25

3/17/2019

3:19 p.m.

661-431-3254

JACOBO gives M.J. an address
in Bakersfield for M.J. to send
him money.

 

26

3/17/2019

11:36 p.m.

661-204-2571

JACOBO reminds M.J. to send
him money.

 

27

3/20/2019

10:50-

10:51 p.m.

661-204-2571

After learning that S.G. had been
released from custody, JACOBO
asks M.J. to discreetly get
JACOBO S.G.’s phone number.

 

28

3/20/2019

10:54 p.m.

661-204-257]

After learning that M.J. had a new

customer wanting two pounds of

methamphetamine, JACOBO
tells M.J. that he will send more
methamphetamine soon.

 

29

 

 

3/21/2019

 

8:46 p.m.

 

661-204-2571

 

JACOBO acknowledges that
M.J. had used multiple payment

 

33

 
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Count

Date

|Time
| (Central) -

Telephone |
Number Used. |.

Description of Communication |

 

methods to send JACOBO
$15,000.

 

30

3/21/2019

8:57 p.m.

661-204-2571

JACOBO acknowledges that
M.J. had a buyer for three pounds
of methamphetamine and tells
M.J. that he will send more
methamphetamine.

 

31

9/17/2020

11:32 a.m.

213-716-3428

JACOBO provides contact
information to Antonio Cervantes
Garcia for Garcia to distribute
drugs to a member of the

OKLAHOMA GROUP.

 

32

9/22/2020

8:53 p.m.

213-716-3428

JACOBO confirms amounts of
money that methamphetamine
customers had paid and directs
Garcia to distribute quantities of
methamphetamine to those
customers.

 

33

10/11/2020

3:17 p.m.

213-716-3428

JACOBO instructs Garcia to get
ready to drive a quantity of

methamphetamine to the
OKLAHOMA GROUP.

 

34

2/10/2021

3:44-3:45
p.m.

213-705-5615

JACOBO tells R.H. to obtain
G.R.’s phone number and locate
Kelly Wayne Bryan so JACOBO
can get money that Bryan owes
JACOBO.

 

35

2/25/2021

12:06-

12:07 a.m.

213-705-5615

JACOBO asks when R.H. would
come to Bakersfield to discuss the
methamphetamine business.

 

36

2/28/2021

9:27-9:29
p.m.

213-705-5615

JACOBO communicates with
R.H. to coordinate R.H.’s arrival
in Bakersfield to pick up a
quantity of methamphetamine.

 

37

3/6/2021

6:24 a.m.

213-705-5615

JACOBO asks whether R.H.
found the six pounds of
methamphetamine JACOBO had
loaded into R.H.’s car.

 

38

 

 

3/9/2021

 

10:32 p.m.

 

213-705-5615

 

JACOBO asks when R.H. would
be ready to come back to

 

34

 
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Count | Date Time Telephone Description of Communication
(Central) | Number Used

 

Bakersfield to pick up more
methamphetamine.
39 3/19/2021 | 12:58 a.m. | 213-705-5615 JACOBO tells R.H. to let
JACOBO know when RH.
arrives home with the
methamphetamine.

 

 

 

 

 

 

 

 

Allin violation of Title 21, United States Code, Sections 843(b) and 843(d)(1).

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FORFEITURE ALLEGATION
[21 U.S.C. § 853, 18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461]

The allegations contained in this Third Superseding Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 21, United States Code, Section 853, Title 18, United States Code,
Section 981(a)(1)(C), and Title 28, United States Code, Section 2461.

Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, WILLIAM DONOVAN JOHNSON II,
a/k/a “Billy Johnson,” shall forfeit to the United States any property constituting, or
derived from, or traceable to, the proceeds obtained, directly or indirectly, as a result
of such drug and racketeering violations and any property, real or personal, that was
used or intended to be used to commit or to facilitate the violation of federal drug
law. The property to be forfeited includes, but is not limited to:

MONEY JUDGMENT

1. A money judgment in an amount representing proceeds obtained by the

offence WILLIAM DONOVAN JOHNSON, [1 as a result of the

CURRENCY

2. $646.00 in United States currency, seized from William Donovan Johnson,
iI, on October 12, 2020;

3. $38,806.00 in United States currency, seized from a trailer located in Cayuga
Park Resort on October 12, 2020;

4. $16,475 in United States currency, seized from Room 2214 of the
Downstream Casino Resort on June 1, 2019;

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5. $65,533 in United States currency, seized from a trailer located at South 650
Road on October 12, 2020;

6. $1,467.11 in United States currency, seized from a GMC Sierra pickup truck
parked near a trailer at South 650 Road on October 12, 2020;

FIREARMS

7. A Jennings T380-CA .380 semi-automatic pistol, serial number 1466709;

VEHICLES

8. A White Ford [Flatbed Truck], MO Tag # 7SFW68;

9. A 2020 Dodge Challenger, MO Tag # LE4F2W; and

PERSONAL PROPERTY

10. A trailer parked at 26371 South 650 Road, Grove, Oklahoma, 74344.

Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, DAVID SCOTT CHAMBERS, a/k/a “Scott
Chambers,” shall forfeit to the United States any property constituting, or derived
from, or traceable to, the proceeds obtained, directly or indirectly, as a result of such
drug and racketeering violations and any property, real or personal, that was used or
intended to be used to commit or to facilitate the violation of federal drug law. The
property to be forfeited includes, but is not limited to:

MONEY JUDGMENT

1. A money judgment in an amount of at least $48,000, representing proceeds

obtained by the Defendant DAVID SCOTT CHAMBERS as a result of the
offenses;

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CURRENCY

2. $4,630.00 in United States currency, seized from the 2012 white Chevy
Equinox on October 10, 2020;

3. $1,113.00 in United States currency, seized from a 2012 white Chevy Equinox
on October 10, 2020;

4. $800 in United States currency, seized from the 2012 white Chevy Equinox on
October 10, 2020; and

5. $59,790.00 in United States currency, seized from the 2012 white Chevy
Equinox on October 10, 2020.

Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, GENE OLEN CHARLES RAST, a/k/a
“Charlie Rast,” shall forfeit to the United States any property constituting, or derived
from, or traceable to, the proceeds obtained, directly or indirectly, as a result of such
drug and racketeering violations and any property, real or personal, that was used or
intended to be used to commit or to facilitate the violation of federal drug law. The
property to be forfeited includes, but is not limited to:

FIREARMS AND AMMUNITION

1. A Ruger, .22 caliber revolver, serial number 20-96958;

2. A Jennings T380-CA, .380 semi-automatic pistol, serial number 1466709;

3. A Taurus, .40 caliber semi-automatic, serial number STE 17971;

4, Any and all ammunition; and

CURRENCY

5. $1,467.11 in United States currency, seized from a GMC Sierra pickup truck
parked near a trailer at South 650 Road on October 12, 2020.

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Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of her sentence, the defendant, SHAUNI BREANNE CALLAGY shail forfeit
to the United States any property constituting, or derived from, or traceable to, the
proceeds obtained, directly or indirectly, as a result of such drug and racketeering
violations and any property, real or personal, that was used or intended to be used to
commit or to facilitate the violation of federal drug law. The property to be forfeited
includes, but is not limited to:

CURRENCY

1. $38,806.00 in United States currency, seized from a trailer located in Cayuga
Park Resort on October 12, 2020;

FIREARMS

2. A Jennings T380-CA .380 semi-automatic pistol, serial number 1466709; and

VEHICLE

3. A Silver Kia Optima, MO Tag # TGOS6P.

Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of her sentence, the defendant, RENEE LYNN HAYNES shall forfeit to the
United States any property constituting, or derived from, or traceable to, the
proceeds obtained, directly or indirectly, as a result of such drug and racketeering
violations and any property, real or personal, that was used or intended to be used to
commit or to facilitate the violation of federal drug law. The property to be forfeited

includes, but is not limited to:

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VEHICLE

1. A Silver Kia Optima, MO Tag # TGOS6P.

Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, LUIS ALFREDO JACOBO, a/k/a “Lokz,”
shall forfeit to the United States any property constituting, or derived from, or
traceable to, the proceeds obtained, directly or indirectly, as a result of such drug and.
racketeering violations and any property, real or personal, that was used or intended
to be used to commit or to facilitate the violation of federal drug law. The property to
be forfeited includes, but is not limited to:

MONEY JUDGMENT

1. A money judgment in an amount representing proceeds obtained by the
Defendant LUIS ALFREDO JACOBO as a result of the offenses; and

REAL PROPERTY
2. All that lot and parcel of land, together with all buildings, appurtenances,
improvements, fixtures, attachments and easements thereon, and all rights
appertaining thereto, located at 225 Marsh Street, Bakersfield, California,
93307.
Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, JESUS VALDEZ MARTINEZ, a/k/a “Jesse
Martinez,” a/k/a “Hostile,” shall forfeit to the United States any property
constituting, or derived from, or traceable to, the proceeds obtained, directly or

indirectly, as a result of such drug and racketeering violations and any property, real

or personal, that was used or intended to be used to commit or to facilitate the

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violation of federal drug law. The property to be forfeited includes, but is not limited
to:
MONEY JUDGMENT
1. A money judgment in an amount representing proceeds obtained by the
Defendant JESUS VALDEZ MARTINEZ, a/k/a “Jesse Martinez,” a/k/a
“Hostile,” as a result of the offenses.
Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, KELLY WAYNE BRYAN, shall forfeit to the
United States any property constituting, or derived from, or traceable to, the
proceeds obtained, directly or indirectly, as a result of such drug and racketeering
violations and any property, real or personal, that was used or intended to be used to
commit or to facilitate the violation of federal drug law. The property to be forfeited
includes, but is not limited to:

MONEY JUDGMENT

1. A money judgment in an amount representing proceeds obtained by the
Defendant KELLY WAYNE BRYAN as a result of the offenses.

Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, CURTIS ANTHONY JONES shall forfeit to
the United States any property constituting, or derived from, or traceable to, the
proceeds obtained, directly or indirectly, as a result of such drug and racketeering
violations and any property, real or personal, that was used or intended to be used to
commit or to facilitate the violation of federal drug law. The property to be forfeited

includes, but is not limited to:

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MONEY JUDGMENT

1. A money judgment in an amount representing proceeds obtained by the
Defendant CURTIS ANTHONY JONES as a result of the offenses;

CURRENCY

2. $65,533 in United States currency, seized from a trailer located at South 650
Road on October 12, 2020; and

REAL PROPERTY
3. All that lot and parcel of land, together with all buildings, appurtenances,
improvements, fixtures, attachments and easements thereon, and all rights
appertaining thereto, located at the premises at 26371 South 650 Road, Grove,
Oklahoma, 74344.
Upon conviction of the offenses alleged in this Third Superseding Indictment, as
a part of his sentence, the defendant, ANTONIO CERVANTES GARCIA, a/k/a
“Tony Garcia,” shall forfeit to the United States any property constituting, or
derived from, or traceable to, the proceeds obtained, directly or indirectly, as a result
of such drug and racketeering violations and any property, real or personal, that was
used or intended to be used to commit or to facilitate the violation of federal drug
law. The property to be forfeited includes, but is not limited to:
VEHICLES
1. A Red GMC Sierra, CA Tag # 8F99419; and
CURRENCY

2. $1,467.11 in United States currency, seized from a GMC Sierra pickup truck
parked near a trailer at South 650 Road on October 12, 2020.

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Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
18, United States Code, Sections 982(b)(1) and 1028(g), and Title 28, United States
Code, Section 2461(c), the defendants shall forfeit substitute property, up to the value
of the property described above if, by any act or omission of the defendants, the
property described above, or any portion thereof, cannot be located upon the exercise
of due diligence; has been transferred or sold to, or deposited with, a third party; has
been placed beyond the jurisdiction of the court; has been substantially diminished in
value; or has been commingled with other property which cannot be divided without
difficulty.

All pursuant to Title 18, United States Code, Section 853, Title 18, United States

Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461.

CLINTON J. JOHNSON A TRUE BILL
Acting United States Attorney

fj i~ (Jk, /s/ Grand Jury Foreperson

THOMAS E. DUNCOMBE Grand Jury Foreperson
Assistant United States Attorney

 

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